Case 19-70718-sms   Doc 13   Filed 02/11/20 Entered 02/11/20 11:57:54   Desc
                                  Page 1 of 3


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

     IN RE: STACIE LEIGH MONROE,              {   CHAPTER 13
                                              {
                                              {
             DEBTOR(S)                        {   CASE NO. A19-70718-SMS
                                              {
                                              {   JUDGE SIGLER


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2.   As unsecured creditors may receive less than in a
     Chapter 7 liquidation, the plan may not conform to 11 U.S.C.
     Section 1325(a)(4).

          3. The proposed plan fails to provide for the treatment
     of the secured portion for the claims filed by the Georgia
     Department of Revenue and the Internal Revenue Service.

          4. Pursuant to information received from the Internal
     Revenue Service, 2018 and 2019 tax returns have not been
     provided to the taxing authorities; thereby, preventing the
     Chapter 13 Trustee from evaluating the feasibility of the
     Chapter 13 plan, in violation of 11 U.S.C. Sections 1322(d) and
     1325(a)(6).

          5. The Chapter 13 budget fails to provide for the monthly
     expense of post-petition income tax liability on self-employment
     income of $2,650.00 per month, and tax escrow slips have not
     been submitted; thereby, indicating that the proposed budget and
     Plan are infeasible, 11 U.S.C. Section 1325(a)(6).

          6. The Chapter 13 Plan is not feasible as the sum of the
     equal monthly payments to creditors is greater than the monthly
     plan payment, in violation of 11 U.S.C. Section 1325(a)(6).


     Mary Ida Townson, Chapter 13 Trustee
     285 Peachtree Center Ave, NE
     Suite 1600
     Atlanta, GA 30303
     (404) 525-1110
     brandik@atlch13tt.com
Case 19-70718-sms   Doc 13   Filed 02/11/20 Entered 02/11/20 11:57:54   Desc
                                  Page 2 of 3
          7. After review of scheduled income and anticipated
     household expenses, Debtor(s)’ proposed budget may fail to
     provide sufficient funds for ordinary living expenses, in
     possible violation of 11 U.S.C. Section 1325(a)(6).

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.




                                      __________/s/_____________
                                      Brandi L. Kirkland, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 423627




     Mary Ida Townson, Chapter 13 Trustee
     285 Peachtree Center Ave, NE
     Suite 1600
     Atlanta, GA 30303
     (404) 525-1110
     brandik@atlch13tt.com
Case 19-70718-sms   Doc 13   Filed 02/11/20 Entered 02/11/20 11:57:54   Desc
                                  Page 3 of 3

     A19-70718-SMS

                              CERTIFICATE OF SERVICE


          This is to certify that on this day I caused a copy of the
     foregoing pleading to be served via United States First Class
     Mail, with adequate postage thereon, on the following parties at
     the address shown for each:

     DEBTOR(S):

     STACIE LEIGH MONROE
     3204 ROCKBRIDGE ROAD
     AVONDALE ESTATES, GA 30002

     I further certify that I have on this day electronically filed
     the pleading using the Bankruptcy Court's Electronic Filing
     program, which sends a notice of this document and an
     accompanying link to this document to the following parties who
     have appeared in this case under the Bankruptcy Court's
     Electronic Case Filing program:

     DEIGHAN LAW, LLC

     This 11th day of February 2020




                /s/             ___
     Brandi L. Kirkland, Attorney
     for Chapter 13 Trustee
     GA Bar No. 423627




     Mary Ida Townson, Chapter 13 Trustee
     285 Peachtree Center Ave, NE
     Suite 1600
     Atlanta, GA 30303
     (404) 525-1110
     brandik@atlch13tt.com
